 

Case 1:20-cv-00847-PGG Document 10 Filed 01/31/20 Pariah A

 

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UNITED STATES DISTRICT COURT +

SOUTHERN DISTRICT OF NEW YORK a

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3M Company, 3M Innovative Properties Company, and i stl

3M Health Information Systems, Inc.,

Plaintiffs,

Vv.

International Business Machines Corporation d/b/a

Watson Health,

Defendant.

Upon consideration of the Motion of Plaintiffs 3M Company, 3M Innovative Properties

[PROPOSED] ORDER TO SEAL

 

Company, and 3M Health Information Systems, Inc. (“Plaintiffs”), including the accompanying

Declaration of Susan M. Salek and Memorandum of Law, it is hereby:

ORDERED, that Plaintiffs’ Motion to Seal is GRANTED, and it is further

ORDERED, that portions of the Complaint in the above-captioned matter, portions of

Exhibit 2, and the entirely of Exhibit 3 to the Complaint be filed under seal.

IT IS SO ORDERED.

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/ Dated: J anuary A, 2020

 

Plaintiffs’ motion is temporarily granted until the
assigned judge rules on the matter. Plaintiffs shall
file the complaint and all papers in unredacted
form on ECF within one week of the date of this

Order unless Plaintiffs renew this application to
the assigned judge.
SO ORDERED.

 

 

 

 

ited States District Judge

Civil Action No. 20-ov- 006 o

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